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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
        v.
                                                        Criminal Action No. 21-244-2 (CKK)
 ANTHONY ALFRED GRIFFITH, SR.,
             Defendant.


                                            ORDER
                                         (March 15, 2023)

        This criminal matter is currently in its third day of a trial before the Court. Defendant has
orally moved in limine for the inclusion of testimony from a United States Capitol Police witness
as to restrictions on public access to the grounds of the United States Capitol on January 6, 2021.
The Government opposes this motion, considering such testimony irrelevant. The parties have
since submitted briefing on the docket. The Court concludes that the proffered testimony is
nonspeculative, helpful to the defense, and relevant, though its weight ultimately may be
minimal. Therefore, although this presents a close question, the Court GRANTS Defendant’s
oral motion in limine over the Government’s opposition.

       As a general matter, the Compulsory Process Clause guarantees the right of a criminal
defendant, no matter the charges he faces, to compel non-speculative, helpful, and otherwise
admissible testimony. See Holmes v. South Carolina, 547 U.S. 319, 324 (2006); United States v.
Barnes, 560 F. App’x 36, 40 (2d Cir. 2014) (speculation). For Counts Two and Three of the
operative indictment, the Government must show beyond a reasonable doubt that the area in
which Defendant allegedly entered or remained was “restricted” within the meaning of 18 U.S.C.
§ 1752(a). United States v. Rivera, 607 F. Supp. 3d 1, 8 (D.D.C. 2022). Although there are any
number of “temporary and permanent ways an area may be restricted” for the purposes of section
1752, United States v. Griffin, 549 F. Supp. 3d 49, 54 (D.D.C. 2021), it is nevertheless
incumbent upon the Government to establish that the area was, in fact, restricted when a
defendant allegedly entered.

        To this end, the Government presented testimony on the first day of trial from Captain
Jessica Baboulis of the United States Capitol Police, who testified that Capitol grounds were
closed to members of the public on January 6, 2021. Defendant, however, has identified a
Capitol Police “operational plan” dated January 5, 2021, that appears to list a demonstration
permitted to occur on the Capitol steps on January 6, 2021. Defense counsel has focused on this
one alleged permit. If this demonstration was authorized and occurred, Defendant argues, then at
least one area Defendant allegedly entered could not have been restricted for the purposes of the
charged subsections.

       Assuming arguendo that any permit was issued and its recipients in fact demonstrated on
the Capitol steps on January 6, 2021, the Court agrees with the Government that a singular

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exception to the general rule that an area is off-limits to the general public does not itself render
an area unrestricted. For example, where the President of the United States holds a political rally
in an area that might otherwise be open to the public and invites certain members of the public to
attend, such an area nevertheless remains restricted as to the rest of the general public. See
United States v. Bursey, 416 F.3d 301, 307-08 (4th Cir. 2005) (aircraft hanger in which President
held political rally was restricted area for purposes of section 1752). The only reason why
inquiry into this permit is relevant is because it bears on whether so many members of the public
were permitted to enter an otherwise “restricted” area as to effectively “un”-restrict the area.

        Although the Court does not venture a guess as to at what point the area in which a
protest was allegedly permitted might lose its “restricted” nature, such an argument is certainly
viable here. Therefore, Defendant’s proffered testimony is relevant, material, and
nonspeculative insofar as it relies on a government document lending credence to the proffered
testimony. Although it may be the case that no such permit was ever granted or no such event
ever occurred, as the Government asserts in relying principally on testimony in a prior trial,
Defendant is entitled to test those factual assertions. The Government may also, if it so chooses,
present evidence in rebuttal to support its factual position.

       Accordingly, Defendant’s oral motion in limine is GRANTED. Defendant shall be
permitted to call a United States Capitol Police employee to testify as to the number of permits
granted for public demonstration on Capitol grounds on January 6, 2021, the nature of those
permits, and whether the events permitted ever occurred.

       SO ORDERED.

Dated: March 15, 2023                                      /s/
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge




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